             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:02CR105


UNITED STATES OF AMERICA                 )
                                         )
                                         )
           VS.                           )           ORDER
                                         )
                                         )
MITCHELL DAVID COLLINS                   )
                                         )


     THIS MATTER is before the Court on the Defendant’s motion for

reconsideration of the Court’s Order filed July 8, 2009, denying his motion

to reduce sentence in accordance with Amendment 706 of the Guidelines

with regard to crack cocaine offenses pursuant to 18 U.S.C. § 3582.

     Defendant argues in the motion to reconsider that the Court

erroneously held that Defendant was not eligible for a sentence reduction

due to his status as a career offender. See Defendant’s Motion for

Reconsideration, filed July 9, 2009; see also Order, filed July 8, 2009.

As a result of the Defendant’s instant motion, the Probation Officer has

filed a revised supplemental presentence report pursuant to the Crack

Cocaine Amendment which shows Defendant is eligible for a reduction in




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his sentence from 235 to 216 months. See Revised Supplement to the

Presentence Report, filed July 13, 2009, at 1. In response to the

Defendant’s motion to reconsider, the Government concedes he is entitled

to a sentence reduction; however, it opposes any further reduction of his

sentence due to “his post-conviction misconduct.” See Government’s

Response, filed July 13, 2009, at 4.

     At the time he was originally sentenced, the Defendant was found to

have had a supervising role in a major drug conspiracy; at the time of his

arrest, officers discovered seven firearms at his residence; and Defendant

admitted to officers that he had traded crack cocaine for firearms. See

Presentence Investigation Report, prepared August 11, 2003, ¶¶ 17,

18. Since his incarceration, Defendant has been disciplined for possession

of a dangerous weapon, possession of intoxicants, assault resulting in

serious injury, and other less serious offenses. Revised Supplement,

supra, at 2.

     After giving consideration to United States v. Booker, the provisions

of 18 U.S.C. § 3553(a), and the disciplinary actions set forth in the Revised

Supplement to the presentence report, the Court concludes the Defendant

has demonstrated a continuing disrespect for the law. It further indicates a



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high probability that his criminal conduct would continue to the detriment of

public interest and protection. See 18 U.S.C. § 3553(a)(2)(B) & (C).

      Section 3582(c)(2) and Amendment 706 to the Guidelines provide

the Court with authority to reduce the Defendant’s sentence in this case.

However, the exercise of that authority is discretionary. “The authorization

of such a discretionary reduction . . . does not entitle a defendant to a

reduced term of imprisonment as a matter of right.” USSG § 1B1.10,

comment. (n.4) (backg’d.).

      Therefore, in the exercise of its discretion, and for the reasons set

forth above, the Court denies the relief sought.

      IT IS, THEREFORE, ORDERED that the Defendant’s motion for

reconsideration is ALLOWED; and such reconsideration having been

afforded, the Court’s order denying Defendant’s motion for reduction of

sentence is AFFIRMED.

                                       Signed: July 15, 2009




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